          Case 18-14993-JDW                           Doc 11           Filed 01/21/19 Entered 01/21/19 17:21:34                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         18-14993
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 19, 2019                        X /s/ Jorja Lynn
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jorja Lynn
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           393,670.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             393,670.12




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                   0.00   -                                0.00 = ....                         $0.00
                                              face amount                         doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         18-14993
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)           18-14993
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Connie Braseth                                            Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           MS Dept. of Revenue                                       Check all that apply.
           Bankruptcy Section                                           Contingent
           P O Box 22808                                                Unliquidated
           Jackson, MS 39225-2808                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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 Debtor       Oxford University Club, LLC                                                                     Case number (if known)          18-14993
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Shelly Beard                                              Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Trisha Farrah                                             Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $7,014.93
           AmeriPride                                                                  Contingent
           800 Vance Ave                                                               Unliquidated
           Memphis, TN 38126                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $746.86
           Armor Fire & Safety, Inc.                                                   Contingent
           277 Hwy 315 E                                                               Unliquidated
           Water Valley, MS 38965                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $227.31
           AT&T Uverse                                                                 Contingent
           P.O. Box 5014                                                               Unliquidated
           Carol Stream, IL 60197-5014                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 7
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              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,051.88
          Bank of America                                                       Contingent
          NC4-105-03-14                                                         Unliquidated
          4161 Peidmont Parkway                                                 Disputed
          Greensboro, NC 27410
                                                                             Basis for the claim:    credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number       2832                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          Celtic Bank                                                           Contingent
          268 S State St Ste 300                                                Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $281.07
          Centerpoint Energy                                                    Contingent
          P.O. Box 4981                                                         Unliquidated
          Houston, TX 77210                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,262.38
          City of Oxford Electric Dept                                          Contingent
          PO Box 965                                                            Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    utitlity services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,867.47
          Dell Financial                                                        Contingent
          P. O. Box 6403                                                        Unliquidated
          Carol Stream, IL 60197-6403                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,985.62
          Evans Meats                                                           Contingent
          PO Box 12164                                                          Unliquidated
          Birmingham, AL 35202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $240.75
          Freeman Jetting Services, Inc.                                        Contingent
          706 Savannah                                                          Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 7
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 Debtor       Oxford University Club, LLC                                                             Case number (if known)            18-14993
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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Lafayette Co Tax Collector                                            Contingent
          300 N Lamar, Ste 103                                                  Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    personal property taxes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,746.50
          Liberty Mutual Insurance                                              Contingent
          PO Box 2051                                                           Unliquidated
          Keene, NH 03431                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance premiums
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,666.90
          Magnolia Rental & Sales, Inc.                                         Contingent
          397 Hwy 6 West                                                        Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,515.80
          Maxx South                                                            Contingent
          105 Allison Cove                                                      Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Merchant Services                                                     Contingent
          PO Box 6010                                                           Unliquidated
          Hagerstown, MD 21741                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $135.43
          MS Dept of Employment Security                                        Contingent
          Attn: Legal Department                                                Unliquidated
          P O BOX 1699                                                          Disputed
          Jackson, MS 39215
                                                                             Basis for the claim:    taxes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $321.00
          Oxford Alarm & Communication                                          Contingent
          179 Hwy 6 East                                                        Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 7
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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $254.77
          Oxford Floral Co.                                                     Contingent
          1103 Jefferson Ave                                                    Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Oxford Square North, LLC                                              Contingent
          265 North Lamar                                                       Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    breech of lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $207.28
          Payliance                                                             Contingent
          2 Easton Oval Ste. 310                                                Unliquidated
          Columbus, OH 43219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NSF Check
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $97.37
          Prestox                                                               Contingent
          PO Box 13848                                                          Unliquidated
          Reading, PA 19612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,000.00
          Renasant Bank                                                         Contingent
          Collection Recovery Dept                                              Unliquidated
          P.O. Box 4140                                                         Disputed
          Tupelo, MS 38803
                                                                             Basis for the claim:    deficiency after sale of collateral
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,525.99
          RJ Young Company                                                      Contingent
          PO Box 415000                                                         Unliquidated
          Nashville, TN 37241                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,407.05
          SimplexGrinnell                                                       Contingent
          Dept CH 10320                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 7
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 Debtor       Oxford University Club, LLC                                                             Case number (if known)            18-14993
              Name

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $113.76
           Sneed's Ace Hardware                                                 Contingent
           1400 University Avenue                                               Unliquidated
           Oxford, MS 38655                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    open account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $25,000.00
           Sysco Memphis, LLC                                                   Contingent
           4359 B.F. Goodrich, Blvd                                             Unliquidated
           Memphis, TN 38118                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    open account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $30,000.00
           US Small Bus. Adm.                                                   Contingent
           MS District Office                                                   Unliquidated
           210 E Capitol, Ste 900                                               Disputed
           Jackson, MS 39201
                                                                             Basis for the claim:    business loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       Matthew M. Moore, Esq.
           P.O. Box 913                                                                               Line     3.22
           Oxford, MS 38655
                                                                                                             Not listed. Explain

 4.2       Mendelson Law Firm
           c/o Brie Wallace, Esq.                                                                     Line     3.26
           P.O. Box 17235
                                                                                                             Not listed. Explain
           Memphis, TN 38187

 4.3       Sunrise Credit Services, Inc.
           P.O. Box 9100                                                                              Line     3.3
           Farmingdale, NY 11735
                                                                                                             Not listed. Explain

 4.4       US Atty, ND of MS
           (representing SBA)                                                                         Line     3.5
           900 Jefferson Ave.
                                                                                                             Not listed. Explain
           Oxford, MS 38655

 4.5       US Atty, ND of MS
           (representing SBA)                                                                         Line     3.27
           900 Jefferson Ave.
                                                                                                             Not listed. Explain
           Oxford, MS 38655

 4.6       US Small Bus. Adm.
           MS District Office                                                                         Line     3.5
           210 E Capitol, Ste 900
                                                                                                             Not listed. Explain
           Jackson, MS 39201


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 7
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 Debtor       Oxford University Club, LLC                                                         Case number (if known)         18-14993
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.7       Valentine & Kebartas, Inc
           P.O. Box 325                                                                          Line     3.8
           Lawrence, MA 01842
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +    $                    393,670.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                      393,670.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         18-14993
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         18-14993
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Estate of Michael                 c/o Joel J Henderson, Esq.                         Bank of America                   D
             Lynn, III                         P O Box 778                                                                          E/F       3.4
                                               Greenville, MS 38702-0778
                                                                                                                                    G




    2.2      Estate of Michael                 c/o Joel J Henderson, Esq.                         Celtic Bank                       D
             Lynn, III                         P O Box 778                                                                          E/F       3.5
                                               Greenville, MS 38702-0778
                                                                                                                                    G




    2.3      Jorja Lynn                        P O Box 4421                                       MS Dept. of Revenue               D
                                               Glendale, CA 91222                                                                   E/F       2.2
                                                                                                                                    G




    2.4      Jorja Lynn                        P O Box 4421                                       AmeriPride                        D
                                               Glendale, CA 91222                                                                   E/F       3.1
                                                                                                                                    G




    2.5      Jorja Lynn                        P O Box 4421                                       Armor Fire & Safety,              D
                                               Glendale, CA 91222                                 Inc.                              E/F       3.2
                                                                                                                                    G



Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 4
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 Debtor       Oxford University Club, LLC                                                    Case number (if known)   18-14993


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Jorja Lynn                        P O Box 4421                                       AT&T Uverse                     D
                                               Glendale, CA 91222                                                                 E/F       3.3
                                                                                                                                  G




    2.7      Jorja Lynn                        P O Box 4421                                       Bank of America                 D
                                               Glendale, CA 91222                                                                 E/F       3.4
                                                                                                                                  G




    2.8      Jorja Lynn                        P O Box 4421                                       Celtic Bank                     D
                                               Glendale, CA 91222                                                                 E/F       3.5
                                                                                                                                  G




    2.9      Jorja Lynn                        P O Box 4421                                       Centerpoint Energy              D
                                               Glendale, CA 91222                                                                 E/F       3.6
                                                                                                                                  G




    2.10     Jorja Lynn                        P O Box 4421                                       City of Oxford                  D
                                               Glendale, CA 91222                                 Electric Dept                   E/F       3.7
                                                                                                                                  G




    2.11     Jorja Lynn                        P O Box 4421                                       Dell Financial                  D
                                               Glendale, CA 91222                                                                 E/F       3.8
                                                                                                                                  G




    2.12     Jorja Lynn                        P O Box 4421                                       Evans Meats                     D
                                               Glendale, CA 91222                                                                 E/F       3.9
                                                                                                                                  G




    2.13     Jorja Lynn                        P O Box 4421                                       Freeman Jetting                 D
                                               Glendale, CA 91222                                 Services, Inc.                  E/F       3.10
                                                                                                                                  G




Official Form 206H                                                            Schedule H: Your Codebtors                                    Page 2 of 4
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Jorja Lynn                        P O Box 4421                                       Liberty Mutual                  D
                                               Glendale, CA 91222                                 Insurance                       E/F       3.12
                                                                                                                                  G




    2.15     Jorja Lynn                        P O Box 4421                                       Magnolia Rental &               D
                                               Glendale, CA 91222                                 Sales, Inc.                     E/F       3.13
                                                                                                                                  G




    2.16     Jorja Lynn                        P O Box 4421                                       Maxx South                      D
                                               Glendale, CA 91222                                                                 E/F       3.14
                                                                                                                                  G




    2.17     Jorja Lynn                        P O Box 4421                                       Merchant Services               D
                                               Glendale, CA 91222                                                                 E/F       3.15
                                                                                                                                  G




    2.18     Jorja Lynn                        P O Box 4421                                       MS Dept of                      D
                                               Glendale, CA 91222                                 Employment Security             E/F       3.16
                                                                                                                                  G




    2.19     Jorja Lynn                        P O Box 4421                                       Oxford Alarm &                  D
                                               Glendale, CA 91222                                 Communication                   E/F       3.17
                                                                                                                                  G




    2.20     Jorja Lynn                        P O Box 4421                                       Oxford Floral Co.               D
                                               Glendale, CA 91222                                                                 E/F       3.18
                                                                                                                                  G




    2.21     Jorja Lynn                        P O Box 4421                                       Oxford Square North,            D
                                               Glendale, CA 91222                                 LLC                             E/F       3.19
                                                                                                                                  G




Official Form 206H                                                            Schedule H: Your Codebtors                                    Page 3 of 4
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 Debtor       Oxford University Club, LLC                                                    Case number (if known)   18-14993


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Jorja Lynn                        P O Box 4421                                       Payliance                       D
                                               Glendale, CA 91222                                                                 E/F       3.20
                                                                                                                                  G




    2.23     Jorja Lynn                        P O Box 4421                                       Prestox                         D
                                               Glendale, CA 91222                                                                 E/F       3.21
                                                                                                                                  G




    2.24     Jorja Lynn                        P O Box 4421                                       Renasant Bank                   D
                                               Glendale, CA 91222                                                                 E/F       3.22
                                                                                                                                  G




    2.25     Jorja Lynn                        P O Box 4421                                       RJ Young Company                D
                                               Glendale, CA 91222                                                                 E/F       3.23
                                                                                                                                  G




    2.26     Jorja Lynn                        P O Box 4421                                       SimplexGrinnell                 D
                                               Glendale, CA 91222                                                                 E/F       3.24
                                                                                                                                  G




    2.27     Jorja Lynn                        P O Box 4421                                       Sneed's Ace                     D
                                               Glendale, CA 91222                                 Hardware                        E/F       3.25
                                                                                                                                  G




    2.28     Jorja Lynn                        P O Box 4421                                       Sysco Memphis, LLC              D
                                               Glendale, CA 91222                                                                 E/F       3.26
                                                                                                                                  G




    2.29     Jorja Lynn                        P O Box 4421                                       US Small Bus. Adm.              D
                                               Glendale, CA 91222                                                                 E/F       3.27
                                                                                                                                  G




Official Form 206H                                                            Schedule H: Your Codebtors                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Oxford University Club, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         18-14993
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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 Debtor       Oxford University Club, LLC                                                               Case number (if known) 18-14993



           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Renasant Bank                                             all equipment, furniture, fixtures and                        03/2017                      Unknown
       Collection Recovery Dept                                  accounts receivables
       P.O. Box 4140
       Tupelo, MS 38803


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    SYSCO Corporation v. Oxford                       collection suit            Circuit Court Lafayette                      Pending
               University Club, LLC                                                         County, MS                                   On appeal
                                                                                            1 Courthouse Sq, Ste 101
                                                                                                                                         Concluded
                                                                                            Oxford, MS 38655

       7.2.    Rensant Bank v. Oxford                            collection suit            Circuit Court Lafayette                      Pending
               University Club, LLC & Jorja                                                 County, MS                                   On appeal
               S. Lynn                                                                      1 Courthouse Sq, Ste 101
                                                                                                                                         Concluded
               L18-447                                                                      Oxford, MS 38655


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Gambrell & Associates, PLLC
                 101 Ricky D Britt Sr Blvd., Ste
                 3
                 Oxford, MS 38655                                                                                              01/15/2018                $835.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Jorja Lynn



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     517 North 11th Street                                                                                     1999 through 07/2017
                 Oxford, MS 38655

 Part 8:       Health Care Bankruptcies
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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      Oxford University Club, LLC                                                                Case number (if known) 18-14993



    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Patricia Farrar
                    address unknown



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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.2.       see tax returns for this info



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Jorja Lynn                                     P O Box 4421                                        managing member                        20%
                                                      Glendale, CA 91222

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Estate of Michael Lynn, III                    c/o Joel J Henderson, Esq.                          member                                 80% interest
                                                      P O Box 778
                                                      Greenville, MS 38702-0778


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.


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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 19, 2019

 /s/ Jorja Lynn                                                         Jorja Lynn
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
 In re       Oxford University Club, LLC                                                                      Case No.      18-14993
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     500.00
             Prior to the filing of this statement I have received                                        $                     500.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods; obtaining return of garnished funds, if necessary; tax
                 discharge issues, if settled without litigation. (Note: if the item mentioned above was not contemplated by the
                 parties as needing to be done at the time the contract was signed, additional charges may be added for that item)

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, redemptions under 11
               USC §722, relief from stay actions, and any other contested or adversary proceeding; filing of amendments as a
               result of information which were not provided to counsel prior to the filing of the schedules; and reopening or
               reinstating the case after dismissal or closing; attendance at rescheduled meetings of creditors; representation
               in any matters which are included, if the matter becomes contested; representation of the debtor in asset cases
               in negotiations with the trustee for the debtor to purchase any non-exempt assets. The hourly fee for these items
               is $250.00 per hour for atty time and $85.00 per hour for paralegal time.

                  Actions in behalf of Debtor to recover preferential payments to judgment creditor on garnished funds shall be on
                  contingent fee basis, with expenses of action being paid first, the 40% of the remaining recovery shall be retained
                  as the fee for collection of said actions. The same contingent fee arrangement applies to the recover of any other
                  funds as a result of any post-petition actions of a credit or an credit bureau.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 19, 2019                                                           /s/ Robert Gambrell
     Date                                                                       Robert Gambrell 4409
                                                                                Signature of Attorney
                                                                                Gambrell & Associates, PLLC
                                                                                101 Ricky D Britt Sr Blvd, Ste 3
                                                                                Oxford, MS 38655-4236
                                                                                662-281-8800 Fax: 662-202-1004
                                                                                rg@ms-bankruptcy.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
 In re      Oxford University Club, LLC                                                                 Case No.   18-14993
                                                                                    Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       January 19, 2019                                            /s/ Jorja Lynn
                                                                         Jorja Lynn/Managing Member
                                                                         Signer/Title




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                        AmeriPride
                        800 Vance Ave
                        Memphis, TN 38126


                        Armor Fire & Safety, Inc.
                        277 Hwy 315 E
                        Water Valley, MS 38965


                        AT&T Uverse
                        P.O. Box 5014
                        Carol Stream, IL 60197-5014


                        Bank of America
                        NC4-105-03-14
                        4161 Peidmont Parkway
                        Greensboro, NC 27410


                        Celtic Bank
                        268 S State St Ste 300
                        Salt Lake City, UT 84111


                        Centerpoint Energy
                        P.O. Box 4981
                        Houston, TX 77210


                        City of Oxford Electric Dept
                        PO Box 965
                        Oxford, MS 38655


                        Connie Braseth



                        Dell Financial
                        P. O. Box 6403
                        Carol Stream, IL 60197-6403


                        Estate of Michael Lynn, III
                        c/o Joel J Henderson, Esq.
                        P O Box 778
                        Greenville, MS 38702-0778


                        Evans Meats
                        PO Box 12164
                        Birmingham, AL 35202
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                    Freeman Jetting Services, Inc.
                    706 Savannah
                    Oxford, MS 38655


                    Jorja Lynn
                    P O Box 4421
                    Glendale, CA 91222


                    Lafayette Co Tax Collector
                    300 N Lamar, Ste 103
                    Oxford, MS 38655


                    Liberty Mutual Insurance
                    PO Box 2051
                    Keene, NH 03431


                    Magnolia Rental & Sales, Inc.
                    397 Hwy 6 West
                    Oxford, MS 38655


                    Matthew M. Moore, Esq.
                    P.O. Box 913
                    Oxford, MS 38655


                    Maxx South
                    105 Allison Cove
                    Oxford, MS 38655


                    Mendelson Law Firm
                    c/o Brie Wallace, Esq.
                    P.O. Box 17235
                    Memphis, TN 38187


                    Merchant Services
                    PO Box 6010
                    Hagerstown, MD 21741


                    MS Dept of Employment Security
                    Attn: Legal Department
                    P O BOX 1699
                    Jackson, MS 39215
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                    MS Dept. of Revenue
                    Bankruptcy Section
                    P O Box 22808
                    Jackson, MS 39225-2808


                    Oxford Alarm & Communication
                    179 Hwy 6 East
                    Oxford, MS 38655


                    Oxford Floral Co.
                    1103 Jefferson Ave
                    Oxford, MS 38655


                    Oxford Square North, LLC
                    265 North Lamar
                    Oxford, MS 38655


                    Payliance
                    2 Easton Oval Ste. 310
                    Columbus, OH 43219


                    Prestox
                    PO Box 13848
                    Reading, PA 19612


                    Renasant Bank
                    Collection Recovery Dept
                    P.O. Box 4140
                    Tupelo, MS 38803


                    RJ Young Company
                    PO Box 415000
                    Nashville, TN 37241


                    Shelly Beard



                    SimplexGrinnell
                    Dept CH 10320
                    Palatine, IL 60055


                    Sneed's Ace Hardware
                    1400 University Avenue
                    Oxford, MS 38655
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                    Sunrise Credit Services, Inc.
                    P.O. Box 9100
                    Farmingdale, NY 11735


                    Sysco Memphis, LLC
                    4359 B.F. Goodrich, Blvd
                    Memphis, TN 38118


                    Trisha Farrah



                    US Atty, ND of MS
                    (representing SBA)
                    900 Jefferson Ave.
                    Oxford, MS 38655


                    US Small Bus. Adm.
                    MS District Office
                    210 E Capitol, Ste 900
                    Jackson, MS 39201


                    Valentine & Kebartas, Inc
                    P.O. Box 325
                    Lawrence, MA 01842
